2:13-cv-02253-CSB-EIL # 108   Page 1 of 13
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                                                      Clerk, U.S. District Court, ILCD
2:13-cv-02253-CSB-EIL # 108   Page 2 of 13
2:13-cv-02253-CSB-EIL # 108   Page 3 of 13
2:13-cv-02253-CSB-EIL # 108   Page 4 of 13
2:13-cv-02253-CSB-EIL # 108   Page 5 of 13
2:13-cv-02253-CSB-EIL # 108   Page 6 of 13
2:13-cv-02253-CSB-EIL # 108   Page 7 of 13
2:13-cv-02253-CSB-EIL # 108   Page 8 of 13
2:13-cv-02253-CSB-EIL # 108   Page 9 of 13
2:13-cv-02253-CSB-EIL # 108   Page 10 of 13
2:13-cv-02253-CSB-EIL # 108   Page 11 of 13
2:13-cv-02253-CSB-EIL # 108   Page 12 of 13
2:13-cv-02253-CSB-EIL # 108   Page 13 of 13
